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AZTE A INTERNATIONAL CORPORATION

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

VANDER MUSIC, INC. ,a Califomia
Corpolation

Plaintiff,
V.

AZTECA INTERNATIONAL
CORPORATION, a DelaWare
Corporat1on

Defendant.

Case No.: CV08 - 08184 JHN (RCX)

DEFENDANT'S NOTICE OF
MOTION AND MOTION TO
DISMISS PLAINTIFF'S SECOND
AMENDED COMPLAINT FOR
DAMAGES AND INJUNCTIVE
RELIEF FOR COPYRIGHT
INFRINGEMENT, VICARIOUS AND
CONTRIBUTORY COPYRIGHT
INFRINGEMENT; MEMORANDUM
OF POINTS AND AUTHORITIES

[F.R.C.P. 12(b)(6)]

Trial Date: February 15, 2011
Time: 9: 00 a. m.
Courtroom: 23

Pretr1a1 Conf: January 31 2011
Time: 102 30 a. m.

Honorable Jacqueline H. Nguyen
Hearing Date: December 13, 2010

 

 

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that on Decernber 13, 2010, at 2:00 p.rn. 1r1

courtroom 790, of th1s Court, located at 255 East Temple Street, Los Angeles,

California 90012, or as soon thereafter as the matter may be heard, before the Hon.

 

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DEFENDANT'S NOTICE OF MOTION TO DISMISS SECOND AMENDED COMPLAINT

 

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Jacqueline H. Nguyen, Defendant Azteca lnternational Corporation W111 and hereby
does move for an order dismissing the plaintiffs Second Amended Complaint For
Damages And lnjunctive Relief For Copyright lnfringement, Vicarious and
Contributory Copyright Infringement for failing to state any claim upon Which relief
can be granted

This motion is made following the conference of counsel pursuant to Local
Rule 7-3, Which took place on October 27, 2010.

This motion is based on this Notice of Motion, and the attached Memorandum
of Points and Authorities, The Second Amended Complaint and such other pleadings
and papers on f11e herein, and any oral argument as may be presented at the hearing

on this motion.

Dated: November L, 2010

 

 

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David A. Stall, Attorney for

Defendant

 

 

 

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DEFENDANT'S NOTICE OF MOTION TO DISMISS SECOND AMENDED COMPLAINT

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19 F.3d 479, 481 (9th Cir. 1994).

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2 Lindey Gn Entertainment, Publishing and the Arts ...................................... p.7
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4 Melville B. Nimmer & David Nimmer, ....................................................... p.7
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The Art of Music Licensing p. 375, (1992)

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MEMORANDUM OF POINTS AND AUTHORITIES

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3 I. MATERIAL COMPLAINT ALLEGATIONS TAKEN AS TRUE1
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VANDER Music, lnc’s Second Amended Complaint basically identifies two
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factual events, one foreign and one domestic, contended to be infringing activities,

6 Without any legally valid links to a United States copyright violation.

7 The foreign event is the production of television programs in MeXico by
AZTECA lnternational Corporation's parent TV Azteca S.A. de C.V., , Which
allegedly synchronized compositions under VANDER'S Unites States control With
visual images and recorded and reproduced the compositions Within these television

programs." [Second Amended Complaint, [SAC] Para. 8] This single fact is

 

 

 

12 presented as the sole support for VANDER'S First, Second and Third Claims.

13 The domestic event is the broadcast of the TV Azteca produced programs in

111 the United States by Los Angeles station KAZA, that included synchronized and

15 reproduced Within it Compositions under VANDER'S United States control. [SAC

16 para 10-88] This single fact is presented as the sole support for VANDER'S Fourth,
17 Fifth, SiXth and Seventh Claims.

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19 II. VANDER'S INFRINGEMENT CONTENTIONS

20 Based upon the foregoing two stated facts, VANDER claims:

21 First Claim: Unauthorized Reproduction 17 U.S.C. 106(1)

22 Paragraph 92. AZTECA and/or TV Azteca performed the synchronizing
23 act 1

24 Paragraph 93. VANDER Would have the right to license the
25 synchronization.

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1 For purposes of the motion to dismiss only.
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DEFENDANT'S NOTlCE OF MOTION TO DISMISS SECOND AMENDED COMPLAINT

 

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Paragraph 94.

Second Claim:

Paragraph 101 .

Paragraph 102.

Third Claim:

Paragraph 109.

Paragraph 1 10.
Paragraph 1 11.

Fourth Claim:

Paragraph 1 17.

Fifth Claim:

Paragraph 123.

Paragraph 125 .
Paragraph 126.
Paragraph 127.

authorization

Sixth Claim:

AZTECA “caused and authorized” its licensees to to record
and replay the programs by “video on demand” and “start
over” services.

Unauthorized Reproduction 17 U.S.C. 10611)

Defendant’s parent infringed VANDER’S copyrights by its

 

MeXican synchronization.

VANDER believes that the l\/Iexican production was under
Defendant’s control.

Unauthorized Reproduction 17 U.S.C. 106(1)

Defendant’s parent infringed VANDER'S copyrights by its
MeXican synchronization.

Defendant knew of the MeXican production

VANDER believes that Defendant caused or materially
contributed to the Mexican production

Unauthorized Performance 17 U.S.C. 106(4)

AZTECA “caused and authorized” its cable and satellite

 

operators to broadcast the listed programs without
VANDER'S permission
Unauthorized Performance 17 U.S.C. 106fl)

 

AZTECA caused the broadcast and public performance of
the programs by TV, cable and satellite without VANDER'S

consent.

AZTECA owes “necessary” license fees to VANDER.
AZTECA infringed VANDER'S copyrights.
AZTECA performed the compositions without

Unauthorized Performance 17 U.S.C. 106@1)

 

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DEFENDANT'S NOTICE OF MOTION TO DlSl\/IlSS SECOND AMENDED COMPLAINT

 

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Paragraph 130. AZTECA “authorized and caused” cable and satellite
broadcasts of the programs.
Paragraph 131. AZTECA had reason to know that the broadcasts were made
without VANDER'S consent.
Seventh Claim: Unauthorized Performance 17 U.S.C. 106( 41

 

Paragraph 138. Non party TV AZteca caused the U.S. performances of its
programming by transmitting same to the U.S. broadcasters.
Paragraph 139. VANDER believes that AZTECA had the right to control
TV AZteca transmissions to the U.S.
What is not factually averred -
_ A direct infringement event by any television broadcaster,
including KAZA.
_ A direct infringement event by any cable or satellite provider.
- A direct infringement "video on demand" or "start over" event.
VANDER does contend in various claims that AZTECA is infringing its
copyrights by “causing and authorizing” the performances that would encompass
KAZA but its attempt to link AZTECA to KAZA as the broadcaster by alleging its
belief that KAZA is wholly owned by AZTECA [SAC para 9] fails for two reasons:
a) The KAZA licensee of record is Pappas Telecasting. [Request for Judicial
Notice filed concurrently herewith]
b) AZTECA, as an entity under foreign ownership, cannot legally own a U.S.

station. 47 U.S.C. § 310(b)(3).
Thus, KAZA is simply a local broadcaster (and the only identified broadcaster)

alleged to perform the programming produced by TV Azteca in Mexico.
AZTECA'S alleged involvement with the two stated facts is that:

 

 

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DEFENDANT'S NOTICE OF MOTION TO DISMISS SECOND AMENDED COMPLAINT

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A. lt is legally responsible for the l\/leXican synchronization event because
VANDER believes that AZTECA caused, authorized, knew about or could control its
parent's conduct.2

B. lt is obligated to obtain a performance rights license from VANDER for
the KAZA broadcasts because VANDER believes that AZTECA caused or authorized
the broadcast by having the program transmitted to KAZA.

III. LEGAL ISSUES IN DISPUTE
The core issues to be considered in assessing the sufficiency of the second
amended complaint are as follows:

1. Whether AZTECA can be held responsible under U.S. copyright law for a
synchronization event that occurs wholly in Mexico?

2. Whether VANDER would even have a legal right to challenge a l\/leXican
synchronization event?

3. Whether AZTECA is violating any of VANDER'S rights by “causing or
authorizing” U.S. broadcasters to perform the programming in the U.S.

when the broadcaster is not identified as a direct infringer?

VANDER'S Second Amended Complaint address reproduction vs.
performance infringements in separate claims that are likewise addressed herein in

separate discussions that follow.

IV. THE FOREIGN SYNCHRONIZATION IN ISSUE IS NOT
SUBJECT TO UNITED STATES ATTACK BY VANDER MUSIC

 

2 Contrary to the typical claim that the parent controls the subsidiary, Vander claims, with no
factual support, that the subsidiary controls the parent. Defendant is unable to locate any authority
that would support such a claim.

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DEFENDANT‘S NOTICE OF MOTION TO DlSMlSS SECOND AMENDED COMPLAINT

 

 

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A. An Act That Might Otherwise Constitute Infringement Under United
States Copyright LaW Is Not Actionable If No Part Of The Infringing
Conduct Occurs In The United States.

VANDER cannot claim copyright lnfringement based upon conduct that is not
cognizable under US copyright law because the alleged infringing conduct occurs
entirely outside of the United States. Sul)czfllms v. MGM-PA THE Communications
CO_, 24 F. 3d 1033 (9th Cir_ 5/13/1994) Therer@r@, 1116 61aim Of Copyright
infringement, based upon alleged illegal foreign synchronization fails to state a cause
of action.

After identifying TV Azteca as the producer of the programming in MeXico at
SAC Para 8, VANDER then asserts at SAC Para 92 that "AZTECA and /or TV
Azteca" performed the synchronization in issue. Synchronization is complete when
the program is created and recorded so the infringing activity charged in the complaint
is either complete in l\/leXico as alleged in SAC Para 8, or the complaint is fatally
indefinite as to the place of infringement

To be clear, under United States Copyright Law, "Synchronization" is the
process of combining sound recordings of musical compositions with visual images.
A "synchronization license" is a license for use of a composition in a film, pre-
recorded radio or television program, or radio or television commercial. See 2 LLidey
On Entertainment, Publishing and the Arts § 7.01 (2d ed. 2000). Bria’geport Music,
Inc. v. Siill N The Water Publishing, 327 F.3d 472, 2003 Fed.App. 0130 (6th Cir.

 

22 05/05/2003) A synchronization license is required if a copyrighted musical

23 composition is to be used in "timed relation" or synchronization with an audiovisual
work. 4 Melville B. Nimmer & David Nimmer, Nimmer on Copvright Sections(s)
25 24.02[f] (1995). l\/lost commonly, synch license are necessary when copyrighted

26 music is included in movies and commercials. Nimmer Section( s1 24.04[C], supra.

The synchronization license is a form of permission that authorizes another to

 

synchronize music with an audiovisual work, such as a motion picture or television

 

 

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DEFENDANT'S NOTICE OF MOTION TO DISMISS SECOND AMENDED COMPLAINT

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program. More precisely it is permission to make a recording of a musical
composition coupled with the condition that the recording only be used as part of the
specific audiovisual work and used (i.e., reproduced or performed) in a particular way.
ln other words, it is actually a reproduction license, but the word, "synchronization"
continues to be commonly used, perhaps because technically, synchronizing involves
making a piece of music in integral part of the audiovisual work, and it has always
been the intent of licensors of synchronization rights that such licensed be so limited.

Al Kohn and Bob Kohn, The Art of l\/lusic Licensing p. 375, (1992).

 

Audiovisual work is defined in the copyright act as " ....works that consist of a

10 series of related images which are intrinsically intended to be shown by the use of

11 machines, or devices such as projectors, viewers, or electronic equipment, together

12 with accompanying sounds, if any, regardless of the nature of the material objects,

such as films or tapes, in which the works are embodied." 17 U.S.C. § 101.

In Subafz`lms v. MGM-PA THE, supra, the United States licensed distributor of

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15 the Beatles, "Yellow Submarine" film authorized the foreign distribution of the film

16 on videocassette. The licensor, Subafilms, claimed that the foreign videocassette

17 distribution was in violation of its license agreement and sought damages for the

18 foreign distribution authorized in the U.S. The actual act of infringement was the

19 distribution occurring in the foreign countries. The Subafilms court held that “the

20 mere authorization of acts of infringement that are not cognizable under the United

21 States copyright laws because they occur entirely outside of the United States does not

22 state a claim for infringement under the Copyright Act." Subafilms @ 1099

23 According to the Su[)ajilms Court "The applicable law [to ascertain

24 infringement] is the copyright law of the state in which the infringement occurred, not

25 that of the state of which the author is a national or in which the work was first

26 published. Subajilms @ 1097 An affiliate of Azteca International would itself be a

27 broadcaster. A Mexican affiliate broadcaster would be creating programming in

 

28 accord with its legal rights in l\/lexico and subject to Mexican law, not United States

 

 

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DEFENDANT'S NOTICE OF MOTION TO DISMISS SECOND Al\/[ENDED COMPLAINT

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Copyright law. lf the production is made in violation of law, it could only be in
violation of l\/[exican law, not United States law.

Furthermore, "Even assuming arguendo that the acts authorized in this case
would have been illegal abroad, we do not believe the distinction offered by Appellees
is a relevant one. Because the copyright laws do not apply extraterritorially, each of
the rights conferred under the five section 106 categories must be read as extending
"no farther than the [United States'] borders." Subajilms @ 1094 Thus an alleged act
of infringement in l\/lexico cannot support a US copyright infringement claim unless
part of the infringing act that occurs in the US.

Here the alleged synchronization is complete in 1\/leXico. The broadcast of the

10

11 synchronized program in the U. S. is a separate and distinct copyright event that is not

12 impacted in any manner by the synchronized content.
13 B. VANDER Music Does Not Hold Any Copyright Rights That Would
14 Cover The Use Of Its Musical Compositions In Mexico.

15 VANDER identifies itself as an "affiliate" of Editora l\/lusical l\/lusart, S.A. de
16 C.V with the exclusive right to control, administer and license musical composition
17 owned by Edimusa in the United States. [SAC para 6] Thus VANDER claims to be
18 the sub- publisher for Edimusa in the territory of the United States. By that

19 description, VANDER'S right to deal with copyright events is confined to the United
20 States. There is no asserted or apparent authority to issue a synchronization license to
21 a foreign producer.

22 As VANDER has no apparent right to attack or even license a synchronization

23 act in MeXico, any vicarious infringement claim in the U.S. must fail for lack of any

24 actionable direct infringement

 

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26 V. AN INFRINGING SYNCHRONIZATION HAS NO LEGAL
27 IMPACT ON THE RIGHT TO PERFORM THE WORK.

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DEFENDANT'S NOTICE OF MOTION TO DISMISS SECOND AMENDED COMPLAINT

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Public performance infringement claims is a category of copyright rights
qualitatively distinct from synchronization rights. Angel Music Inc., v. ABS Sports,
Inc. 631 F. Supp 429, 433 n4 (S.D.N.Y. 1986) Public performance and
synchronization rights are distinct twigs in the bundle of music publishers rights.
Agee infra, citing Bn]j”alo Broadcasting v. A.S.C.A.P. 744 F. 2d 917, 920 (2nd Cir
1984).

lf the broadcaster has the right to transmit such a performance per a direct or
blanket license through a performing rights society such as ASCAP or BMI, the
broadcast cannot constitute copyright infringement and there is no infringement to
cause or contribute to. An infringing recording and synchronization, even if produced
in the United States, does not bar the use of the program for broadcasting if the
broadcaster has the right or license to do so. This exact situation was presented in
Agee v. Paralnount Colnlnunications, lnc. 59 F 3d 317, (2nd Cir. 6/26/1995) where the
program producer synchronized a sound recording with video and transmitted the
recording to the broadcaster via satellite. The plaintiff claimed that the synchronized
recording was tainted because of the lack of permission from the copyright holder.
The court recognized that the act of synchronization was separate from the act of
performing and that a synchronization violation does not bar a right to perform. Thus,
even if an independent U.S. producer supplied Azteca lnternational with an illegally
synchronized program, the network would still have the right to cause the program to

be broadcast so long as the only U.S. activity was a licensed performance.

VI. THE COMPLAINT FAILS TO IDENTIFY ANY DIRECT
PERFORMANCE RIGHT INFRINGEMENT.
KAZA is identified as the specific performer of the VANDER controlled
compositions but nowhere in the complaint is KAZA identified as performing the

works without a performance rights license. In fact, no broadcaster is identified as a

 

 

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DEFENDANT'S NOTlCE OF MOTION TO DISMISS SECOND AMENDED COMPLAINT

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direct infringer. Since the broadcaster is ultimately the entity that performs the work
thought the broadcast, they are the only entity that could be a direct infringer.
AZTECA is only charged with causing and authorizing the broadcasts by the
respective station licensees or transmittors. VANDER'S apparent claim in this regard
is to be paid for the license "necessary" to cause and authorize the broadcast -in
6 addition to the license fees due for the performance
7 Just as with the synchronization issue, if there is no identified or U.S.
enforceable act of actionable direct infringement, there can be no legally actionable
vicarious infringement Without direct U.S. copyright infringement, there can be no
contributory infringement Aro Manufacturing Co. V. Convertil)le Top Replaeefnenr
Co., 81 S. Ct. 599, 365 U.S. 336 (U.S. 02/27/1961) [ifthere is no direct infringement
of a patent there can be no contributory infringement.]
The Subafilrns Court addressed this point stating at page 1092, as follows:
"‘ln a word, if there is no [direct] infringement of a patent there can be no
contributory infringer.’ ” (quoting Mercoid Corp. v. l\/lid-Continent lnv. Co.,
320 U.S. 661, 677, 64 S.Ct. 268, 276, 88 L.Ed. 376 (1944)(Frankfurter,1.,
dissenting on other grounds) (alteration added by Deepsouth Court))).FN7 See
generally 1 Paul Goldstein, Copyright: Principles, Law and Practice § 6.1, at
705 (1989) [hereinafter Goldstein] (“lt is definitional that, for a defendant to be
held contributorily liable, a direct infringement must have occurred.”); 3
David Nimmer & Melville B. Nimmer, Nimmer on Copyright § 12.04[A][2][b],
at 12-81 (1993) [hereinafter Nimmer] (“There can, by definition, be no

contributory liability if that conduct which is aided by the putative contributory

24 infringer is not itself infringing.”)."

25 VANDER'S failure to identify any direct infringer not only constrains
26 AZTECA'S ability to respond, it also precludes AZTECA from taking any steps to

27 address or cure the direct infringement AZTECA could possibly resolve its claimed

 

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DEFENDANT'S NOTICE OF l\/[OTION TO DlSMlSS SECOND Al\/[ENDED COMPLAINT

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1 contributory infringement status by simply suspending program transmission until an
2 appropriate performance license was in place

3 ln a similar vein, AZTECA is charged with allowing "video on demand" and/or
4 "start over" activity by its affiliates without any example whatsoever of a single

5 occurrence that could be considered an infringement of VANDER'S copyrights lf

6 AZTECA is not apprised of the specific conduct of a third party that is deemed

7 infringing, it cannot address same, much less adequately respond to such a nebulous

g charge

VII. THE COMPLAINT PRESENTS A MULTITUDE OF CLAIMS
OUTSIDE OF THE STATUTE OF LIMITATIONS.

lf the complaint does present any legally cognizable claim in the court's view, a
significant portion of the claimed infringing events predate the applicable statute of
limitations. These include SAC Paragraphs ll, 14, 20, 21, 24, 25, 26, 27, 32, 33, 34,
35, 36, 37, 43, 44, 47, 57, 64 and 66. Paragraphs 87 and 88 present claims that are
uncertain as to date

A civil action under the Copyright Act must be "commenced within three years
after the claim accrued." 17U.S.C. § 507(b). A cause of action accrues when a plaintiff
knows of the infringement or is chargeable with such knowledge Roley v_ New World
Pictures, er., 19 F.3d 479, 481 (9th Cir. 1994). Because each act ofinfringement is a
distinct harm, the statute of limitations bars infringement claims that accrued more

than three years before suit was filed but does not preclude infringement claims that

 

:: accrued within the statutory period.

24 The above referenced infringing events occurred before the applicable

25 limitations period by an alleged public display of the infringement They are clearly
26 time barred. As the complaint includes numerous time barred events, the two

27 referenced undated events at Para 87 and 88 are not sufficiently pled to assess the

28 limitations that may apply.

 

 

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DEFENDANT'S NOTlCE OF MOTION TO DlSMlSS SECOND AMENDED COMPLAINT

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VIII. CONCLUSION

3 Plaintiff' s synchronization infringement complaint is for a violation, if any, of a
4 copyright holder's rights under l\/leXican Law, not United States Law and the

5 complaint as presented, fails to state a claim against defendant Azteca International.

6 The charge of causing or authorizing U.S. television broadcasts without VANDER'S
7 permission fails for lack of any identified act of direct infringement that would

g support VANDER'S vicarious infringement claim. The complaint in its entirety does

9 not present a legally sufficient copyright infringement claim.

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12 Dated: November ii ,2010

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15 Respectfully submitted,

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David A. Stall, Attorney for
Defendant

 

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DEFENDANT'S NOTICE OF l\/IOTION TO DISMISS SECOND AMENDED COMPLAINT

